    
 

IN THE UNITED sTATEs DISTRICT COURT v
FOR THE NORTPH~:RN DISTRICTOFTEXAS
DALLAS DlvlsION ' ‘ ‘ "

ARTHUR CARSON,
PLAINTIFF,

VS.
OFFICER KELLY(FIRST NAME UNKNOWN);

THE DALLAS POLICE DEPARTMENT ET AL.,
DEFENDANTS.

COMPLAINT WITH JURY TRIAL DEMANDED

PRELIMINARY STATEMENT:

This is a Civil Rights Action filed by Arthur Carson, for damages , Declaratory and Injunctive Relief
Under 42 U.S.C. 1983, 1988, alleging Defendant’s Violation of the Equal Protection Clause of the
Fomteenth Amendment of the United States Constitution.

JURISDICTION:

1.This Court has jurisdiction over the PlaintifPS claims of Violation of Federal Constitutional Rights
Under 42 U.S.C. 1331(a) and 1343.

2.This Court has supplemental jurisdiction over the Plaintist State Law tort claims under 28 U.S.C. 1367.
PARTIES:

3. The Plaintiff , Arthur Carson, 1854 El Capitan Dr.148 Dallas,TX.75228, (214-245-8241);

4.0f1icer Kelly, (lirst Name Unknown until discovery), Dallas Police Oft`lcer, 1401 S. Lamar street

Dallas, TX 75215;

(l)

Case 3:10-cv-01523-G Document 1 Filed 08/05/10 Page 2 of 8 Page|D 2

5. The Defendant, Dallas Police Department, 1401 S. Lamar Street, Dallas TX 75215.

STATEMENT OF THE CLAIM:

On June 19,2010, during the Moming about 10:30- 11:00 A.M. I called 911 to Report an Assault
Against me and the breaking of My Windshield by a Female, Evelyn Moore, the estranged Wife
Of Ruben Moore, the Person I was Visiting, (3812 Garden LN. Dallas). Ai’cer maybe ten minutes without
A Police, a second call was made.
Officer Kelly eventually arrived, said Officer was hostile to me and three other Witnesses, and did not
Want to hear My side of the events and spoke primarily with the Assailant, Evelyn Moore, despite the
F act I was struck in the face with a stick. Dallas Police took No action to the vandalism to My Vehicle or
Assault, because I Am an Aii'ican-American male, the Police Department Custom, Practice or Policy
Is to ignore, and fail to enforce the law for African-Americau men whom are Victimized, specifically
By a Female assailant or through domestic Violence.
The Dallas Police department have recklessly disregarded Prior Assault Complaint made against
Evelyn Moore by Ruben Moore, where Evelyn Moore was again free to Assault Me and damage My Car.
There exist an Unequal application of the law for African-American Males who Report crimes by
Females, where the Dallas Police have ignored the substantial Risk of serious harm posed by Evelyn-
Moore, whom have seriously Assaulted Ruben Moore, and Police failed to intervene or Arrest Her.
This Discrimination is due to gender and Race, where the acts or omission of the Dallas Police
Department toward Afn`can-American Males, are the proximate cause of My Injuries, since State law

Has not been enforced, and My complaint ignored by the Defendants.

(2)

Case 3:10-cv-01523-G Document 1 Filed 08/05/10 Page 3 of 8 Page|D 3

WHEREFORE, PREMISES CONSIDERED, PLAINTIFF PRAY FOR DECLARATORY AND
INJUNCTIVE RELIEF,COMPENSATORY, PUNITIVE DAMAGES OF $100,000, IURY
TRIAL; COST OF COURT; ALL ELSE RELIEF THIS COURT DEEM EQUITABLE AND JUST

UNDER LAW.

ON»~ O»-

Arthur Carson

2606 Highland Rd. 110
Dallas, Tx.75228
(214-245-8241)

 

VERIFICATION:

I, Arthur Carson, declare the foregoing statements made in this Complaint are true and correct, under

The penalties of Perjury ,pursuant to 28 U.S.C. 1746.

Av°>~l $'l’
Dated this §§ day of ~hrly, 2010.

0
Arthur Carson
Pro se

N\
w
w

a

;c

Case 3:10-cv-01523-G Document 1 Filed 08/05/10 Page 4 of 8 Page|D 4

Da|las police Department Reports

Offense Record for Public Release
incident #: 0171683-X

UCR CODE: 14082 AS SlGNAL: 6X Offense Date: 6I19[2010

_oio:¢ MDT 7 'ch: 13;__2`)§:351¢£: 13:52:067 oisPATcHEpmAT: 11:48

 

 

r_v_BEAT: 313 REPORT|NG AREA: 2149 WATCH: 2
CCMPLAlNANT lNFORMATlON

NAME: CARSON, ARTHUR BUS|NESS ADDRESS:

HOME ADDRESS:

1854 EL CAPlTAN

DALLAS TX 75228

RACE: B SEX: M AGE: 56 DOB:

OFFENSE ,

M__oFFENsE oescRiPnoN= cRiMiNAL MiscHiEF

 

"MIO: SUSP SMASHED WlNDSH|ELD OF COMP'S VEH|CLE WlTH A HAMMER
OFFENSE LOCAT|ON:03_812 GARDENLN
APT:

l PREmsEs: 501 - HousE PRoPERrv ArrAcK cooE: 501
d inves]jiclijron AssicNEo; 3548

DATES OF OCCURRENCE: 2010/6/19 11:15 - 2010/6/19 11:35

 

 

 

 

 

§rATus_:_s ucR oisP: P sPEciAL REPoRr==
FoLLow uP: 4 REviEwEn aY; 23222 wEATHER:
sR cooE: 2 mv. mv. NonFiEo:
FAMu_Y vloLENcE: N GANG AcrivnY cRmE__:___. N

 

Crime classifications are based upon preliminary information supplied to the Da|las Police Depari:ment by the repoan parties
and the preliminary dassilications may be changed at a later date based upon additional investigation Therefore, die Da|las
Police Department does not guarantee (either expressed or implied) the accuracy, completeness timeliness, or correct
sequencing of the information contained herein and the information should not be used for comparison purposes over l:ime.
The Dallas Police Department will not be responsible for any error or omission, or for the use of, or the results obtained from
the use of this information.

Open Records requests must be made in writing. They may be:
1. Hand-carried to the Records Seotion, Da|las Police Headquarters, 1400 S. Lamar St., Dallas, Tx. 75215.
2. Faxed to 214-671~4636

3. E~mailed to openrecordunit@dpd.ci.dallas.lx.us
4. Mailed by US Postage to - Dallas Police Open Records, 1400 S. Lamar St., Dallas, Tx. 75215.

0171683-X Page 1 of 2 On 8/3/2010 10:41:24 AM

Case 3:10-cv-01523-G Document 1 Filed 08/05/10 Page 5 of 8 Page|D 5

Da|las Police Department Reports

Ol‘fense Record for Public Release
incident #: o171683-x

 

 

ucR cooE: 14082 As siGNAL: ex offense Daie: 6119/2010
oFFicER iNFoRMAnoN

REPoRTlNG oFFicER: 10015

oTHER oFFlcER: d 7

NARRATWE

SUSP WAS INVOLVED IN AN ALTERCATION ON 06/18/ 10 AT LISTED LOCATION. ON 06/19/10
THE SUSP RETURNED TO THE LISTED LOCATION TO OBTAIN PERSONAL PROPERTY AND BECAME
INVOLVED IN A MUTUAL PHYSICAL CONFRONTATION WITH THEINDIVIDUALS AT THE LOCATION.
ROS SPOKE WITH THE COMP WHO STATED THE SUSP BECAME VIOLENT AFI'ER THE VERBAL
ARGUMENT AND PHYSICAL CONFRONTATION, AND PROCEEDED TO HIT THE WINDSHIELD OF HIS
VEHICLE WITH AHAMMER, CAUSING DAMAGE. END OF ELEMENTS

. VEH|CLE
YEAR: 01 MAKE: STRN MoDEL: SL STYLE: 4D
COLOR1: OTH UNK COLOR2: OTH UNK
PROPERTY
7 Status Quantity Description Va|ue
D 1 FRONT WINDSHIEU) $200.00

Crime classifications are based upon preliminary information supplied to the Da|las Police Department by the reporth parties
and the preliminary classifications may be changed at a later date ba§d upon additional investigation. Therefore, the Da|las
Police Department does not guarantee (either expressed or implied) the accuracy, completeness l:lmeliness, or correct_ ,
sequenan of the information contained herein and the information should not be used for comparison purposes ov_er hme.
The Da|las Police Department will not be responsible for any error or omission, or for the use of, or the results obtained from
the use of this information.

Open Records requests must be made in writing. They may be:
1. Hand~carried to the Records Section, Da|las Police Headquarters, 1400 S. Lamar St., Da|las, Tx. 75215.
2. Faxed to 214-671-4636

3. E»mailed to openrecordunit@dpd.ci.dal|as.b<.us
4. Mailed by US Post,age to - Da|las Police Open Records, 1400 S. Lamar St., Da|las, Tx. 75215.

01717683-X Page 2 of 2 on 8/3/2010 10:41:24 AM

/\ddres.s

l. By signii'lg,lhi.s hill l
to do the'worlr on my
indicated
2. 'l`he shop is nol
happens to my vehicle if l
plus l have to pay $20
3., ll the vehicle stays
` shop has the right to

7 7only,7 not on parfs.
5. ' No Wan"anty,on used electrical parts. 7
6. All deposits are not refundable.

7. All claims must be accompanied by this hill. Thanks.

 

TOTAL

 

M“°“z“°)oase 3:10-0\/-01523-<3 DGJMPW&S£HH§/lo Page 7 of 3 PagelD 7

The 18 44 civil cover sheet and the information contained herein neither replace nor su
provided by local rules of court. 'lhls form, approved by the Judicial Conference of the
initiating the civil docket sheet. (SEE INSTRUC'HONS 0N THE REVERSE OF THE FORM.)

‘€1’

nited States in September 1974, is required for the use

lement the filing and service of pleadings or other papers as required by law, except as
of the Clerk of Court for the purpose of

 

I. (a) PLAINTIFFS

/‘l/lTvii//L C/\~llr(g/)

(b) County of Residence of First Listed Plaintiff D »
(EXCEFI` IN U.S. PLAIN'HFF CAS )

(C) Atfom?’§ (Flrm Name, Addrcss, and Telephone Number)

M. dual D/i//)+>';

F’/lOS

;L@oi' Hiqh/;/i»\c)

  
    
 
 

DEFENDANTS

 

i of R sidence of First Listed Defendant

CF!:/'r€k 165/ly

Di'i'/ //l’_§ f(;l(()c-é 0 C’f£`/t`]i.*frv\c"/lT
Dil///H

 

(IN U.S. PLAINTIFF CASES ONLY)

 

II. BASIS OF JURISDICTION (Piade im “x” in one Box odiy)

 

III. CITIZENSHIP OF PRINCIPAL PARTIES(Place an “X” in One de for Plainrin‘

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

f (F or Diversity Cases Only) and One Box for Defendant)
Cl 1 U.S. Govlr_erlt 11 3 Federal Questioo PTF DEF PTF DEF
Plal'ntilf (U.S. Governrnmt Not a Party) Citizeo of This State U l Cl 1 Incorporated or Priricipal Place Cl 4 D 4
of Business In This State
Cl 2 U.S. Govel'nment D 4 Diversity Citizen ofAnother State D 2 ij 2 Incorpoi‘ated and Principal Plaoe ij 5 l'_'l 5
Defendant aodicate Ci . l ,p ofpames in mm nn ofBuslness Irl Another State
CitizeuorSubjectofa Cl 3 CI 3 ForeignNation ij 6 ij 6
F<£ig£’_m;'_fv
IV. NATURE OF SUIT glaze an “X” in One Box ga
fm rims FCBMAMY ~ M""CY ' ' QM:
Cl 1101osurance PERSONAL IN.IURY PERSONAL INJURY ij 610 Agrlculture lj 422 Appeal 28 USC 158 El 400 State Rcapportionmcnt
Cl 120 Man`oe L'_l 310 Ail'plane Cl 362 Personal luquy - g 620 Odlu’ Food & Dl’ug U 423 Withdrawal ij 410 Antitrust
lj 130 Millel’ Aot ij 315 Al`rplane Pl'odnct Med. Malpxaciice ij 625 Drug Rela.ted Seizm'e 28 USC 157 lj 430 Banks and Banklng
U 140 Negotiable lnslmment liability Cl 365 Personal Injury - of Property 21 USC 881 g 450 Commercc
Cl 150 Recovery of Overpayment Cl 320 Assaiilt, Libel & Product Liability Cl 630 Liquor Laws CI 460 Depomtion
&I:`oforcemeot of.ludgm:nt Slandet E| 368 Asbestos Personal ij 640 R.R. & Truck CI 470 Rackcteet lnfluenced and
Cl 151 Medicare Act l:| 330 Federal F.mployers’ lnjury Prodiict ij 650 Airlioe Regs. Cormpt Organimtioos
D 152 Recovery ofDefaolted Liability Llability lJ 660 Occupatiooal U 480 CGHSllm€l' deif
Studmt Loans ij 340 Marine PERSONAL PROFERTY Safety/Health l:l 490 Cable/Sat TV
(Excl. Vcteraris) Cl 345 Marine Product D 370 Otlicr Fraud CI 690 Other Cl 810 Selective Service
El 153 Recovery of Overpaymeut liability U 371 Trutli in lending g 850 SeGllIiti€S/Commoditiesl
of Vete'ran’s Bme§ts D 350 Motor Vehl`cle g 380 Other Personal l'J 710 Fai! Labor Standm'ds |j 861 I‘HA (13956) EXCllaoge
U 160 Stockholders’ Suits l:| 355 Motor Vehicle Property Damage Act l:l 862 Black Lullg (923) lj 875 Customer Chal]enge
[J 190 Othcl' Cootmct Prodnct Liabi].ity l:l 385 Property Damage l:l 720 Labor/MgmL Relations l:l 863 DlWC/DlWW (405(g)) 12 USC 3410
lJ 195 Cm!tmct Pl'od\lct liability l:l 360 Other Persooal Froduct liability U 730 Labor/Mgmt.Repom`ng ij 864 SSID Tide XVI 13 890 Other Statl.i!ory Actioos
Cl 196 Franch.ise lnl`Ey & Disclos\lrc Act D 865 RSI !40515!! ij 891 Agricu.ltutal Acts
0 TY f crvwg'rs cl 740 Raiiway Lalm Acr M i:i 392 academic stabilization Aci
CI 210 Land Condemnation Cl 441 Voti'og ij 510 Motioris to Vacate D 790 Oi.her Labor Litigation l:l 870 Taxes (U.S. Plaintiif 13 893 Erivironmental Mattus
13 220 Foreclosilre D 442 Employmerit Sentcncc Cl 791 Empl. Ret. lnc. or Defendant) D 894 Enm'gy Allocaiioo Act
CI 230 Rent Lease &. Ejectment Cl 443 Housi`og/ szm Corpux: Security Act lj 871 IRS-'I'liird Pal1y D 895 Fmdom ofloformaiiorl
U 240 Torts m Land Accommodations Cl 530 Geuel'al 26 USC 7609 Act
Cl 245 Tort Product Liability Cl 444 Welfare Cl 535 Deadi Pellalty IMMIGRATI()N ij 900Appeal of Fee Dewrminat:ion
D 290 All Oilier Real Property Cl 445 Amer. w/Disahilitics - ij 540 Mandamus & Other lj 462 Naturalization Application Under Eqiial Access
Employment Cl 550 Civil Rjghts |j 463 Habms Corpus - to J\lstioe
Cl 446 Amer. w/Disabilitiei - Cl 555 Pn'son Crmditiou Alien Detainee ij 950 Coostitutionality of
Otlier CI 465 Otlier limnigration State Statutes
13’ 440 odd civil Rigliis Acriims
g ORIGIN (Pim an “x" in one de ooly) T f d fr ap e frtg 3011in
1 original g 2 Remdved from g 3 Remanded from g 4 reinstated or ij 5 an':”djc§"§§mc‘:m g 6 Mdlrid_ismcc g 7 Ma§ismc
Proceeding State Court Appellate Court Reopened (§pecifv) L!flgaflon Judg£g em
_Citc# U.E] (?vil Statute dqr which you are tying (Do not czzeép?ictional stath unless diversity):
vi cAUsEoFACTIoN 77 6 l f M qz‘/SC' q83' L
' Briet` description df cause: "
VII. REQUESTED IN Ell cHECK IF THIs is A cLAss AcrloN DEMAND $ CHECK YES only if demanded in complaint
COMPLAINT; UNDER F_R_c_P. 23 JURY DEMAND: Yes 0 No
VIII. RELATED CASE(S) (See instructions)
PENDING OR CLOSED:
.lUDGE DOCKET NUMBEIL._____.____--_
DATE 0 g SI(`&I;AMTQ:KE OF A'ITORNEY OF RECORD
l

 

FOR OFFICE USE ONLY

 

RECEIFT #

AMOUNT

 

APPLYING lFP

 

JU'DGE

 

MAG. JUDGE

 

 

-CV#OlEZS-G 7F*D'OCL'JI'T]EED'[ 1 7rl:`i`l€(j703/0,,5/"]207 ! P'&Q'€ 3 013 7F’B.Qit§ll:)

     
   

 

 

   

